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  In the United States Court of Federal Claims
                          OFFICE OF SPECIAL MASTERS

********************     *
BROOKE CLOYD and DYLAN   *
CLOYD, on behalf of their son,
                         *
BTC, a minor,            *                         No. 18-1251V
                         *
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: June 21, 2022
                         *
SECRETARY OF HEALTH      *                         Stipulation; rotavirus vaccine;
AND HUMAN SERVICES,      *                         intussusception.
                         *
                         *
             Respondent. *
******************** *

John R. Howie, Jr., Howie Law, P.C., Dallas, TX, for Petitioner;
Ryan D. Pyles, United States Dep’t of Justice, Washington, DC, for Respondent.

                             UNPUBLISHED DECISION1

       On June 21, 2022, the parties filed a joint stipulation concerning the petition
for compensation filed by Brooke and Dylan Cloyd on August 20, 2018. In their
petition, petitioners alleged that the rotavirus vaccine, which is contained in the
Vaccine Injury Table (the “Table”), 42 C.F.R. § 100.3(a), and which BTC received
on October 20, 2017, caused BTC to suffer intussusception. Petitioners represent
that there has been no prior award or settlement of a civil action for damages on
BTC’s behalf as a result of his condition.

      Respondent denies that BTC sustained a Table intussusception within the
timeframe set forth in the Table; and denies that the rotavirus vaccine and/or any
       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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other vaccine administered on October 20, 2017 caused or significantly aggravated
BTC’s intussusception.

      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       a. An amount sufficient to purchase the annuity contract described in
          paragraph 10 of the stipulation, paid to the life insurance company
          from which the annuity will be purchased; and

       b. For past unreimbursable expenses, a lump sum of $3,940.00 in the
          form of a check payable to petitioners.

       These amounts represent compensation for all damages that would be
       available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment according to this decision and the attached
stipulation.2


       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

                                                2
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